         Case 1:13-cr-00220-JRH-BKE Document 442 Filed 03/02/15 Page 1 of 1


                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF GEORGIA
                                                AUGUSTA DIVISION


UNITED STATES OF AMERICA,                              *
                                                       *


               v.                                      *                     CR 113-220
                                                       *


OSCAR PIEDRA.                                          *




                                                    ORDER




        Defendant      has    filed         a     motion    for       reduction      of    sentence    under          18

U.S.C.    § 3582(c)(2)        on the basis that Amendment 782 to the United States

Sentencing       Guidelines         has         revised         the   guidelines          applicable       to    drug

trafficking offenses.                   Even       though Amendment            782       became    effective on

November    1,      2014,     no    defendant         may        be    released      on    the    basis     of    the

retroactive amendment before November 1, 2015.                                 See U.S.S.G.         Amend.       788.

Thus,    the     Court       will       undertake           a     review     of     cases       involving        drug

trafficking         offenses       in       due    course.            If   Defendant       is    entitled        to    a

sentence     reduction         as       a    result        of    amendments         to    the     United    States


Sentencing Guidelines,              the Court will make such a reduction sua sponte.

Accordingly, Defendant's motion (doc. no. 441) is DEFERRED.1

        ORDER ENTERED at Augusta, Georgia, this <—"\ *" '                            day of March, 2015.




                                                    HONORABLE         J.   RANDAL    HALL

                                                    UNITED       STATES    DISTRICT       JUDGE

                                                    SOIZCMERN DISTRICT OF GEORGIA




        The Clerk is DIRECTED to TERMINATE the motion for administrative purposes.
